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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2: cr20079-2-D

FRED JETER, 311 61

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE AC'I`

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled ease, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Aet (18 U.S.C. § 3006A):
APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this a g day of July, 2005.

/'_,___n
. /AM
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Services Oftice

Assistant Federal Public Det`ender
Intake

FRED JETER, JR.

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Honorablc Bcrnicc Donald
US DISTRICT COURT

